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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MADELYNNE BOYKIN,
   Plaintiff,

              v.                           Civil Action No. 1:22-cv-02489-MHC

KREYOL ESSENCE INC.
      Defendant.


RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

      COMES NOW Plaintiff Madelynne Boykin (“Plaintiff”) and, in response to

Defendant Kreyol Essence’s (“Defendant”) Motion to Dismiss [ECF No. 11], states

as follows.

               ARGUMENT AND CITATION OF AUTHORITY 1

      A.      Standard of Review

      To survive a motion to dismiss under Rule 12(b)(6), a pleading must include

a “short and plain statement of the claim showing that the pleader is entitled to

relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Fed. R. Civ. P.

8(a)(2)). A complaint must contain sufficient factual matter, which, if accepted as



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 Plaintiff incorporates by reference the facts alleged in her Complaint [ECF No.
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true, would “state a claim to relief that is plausible on its face.” Id. (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citation

omitted).

      B.     Plaintiff Consents to the Dismissal of the Florida State-Law
             Claims.

      As a preliminary matter, Plaintiff concedes that the Florida state-law claims

(Counts 9–14) are improperly asserted, given that she is a resident of Georgia and,

therefore, felt the harm of Defendant’s actions within Georgia. See Transmax Prods.,

LLC v. Swartzberg, No. 1:19-cv-03568-SDG, 2020 WL 5095370 (N.D. Ga. Aug. 28,

2020) (in cases involving federal claims and supplemental state-law claims, “the

[c]ourt applies the choice of law rules of the state in which it sits”); Bowen v. Porsche

Cars, N.A., Inc., 561 F. Supp. 3d 1362, 1372 (N.D. Ga. 2021) (under Georgia choice-

of-law rules, “tort [claims] are governed by the substantive law of the state where

the tort was committed,” which is “the place where the injury sustained was

suffered”); Erler v. Hasbro, Inc., 506 F. Supp. 3d 1275 (N.D. Ga. 2020) (a plaintiff

in a tort claims is “assumedly injured in the state where he or she resides . . .”).

Accordingly, Plaintiff voluntarily dismisses these Florida claims without prejudice.



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      C.     The Copyright Act Does Not Preempt Plaintiff’s Remaining
             Claims

      As to Plaintiff’s remaining state-law claims, Defendant erroneously argues

that they are preempted by the Copyright Act and must be dismissed. In order for a

state-law claim to be preempted by the Copyright Act, (a) the “rights at issue [must]

fall within the subject matter of copyright” and (b) the right must be “equivalent to

the exclusive rights” of the Copyright Act. Dunlap v. GL Holding, Inc., 381 F.3d

1285, 1293–94 (11th Cir. 2004) (quoting Crow v. Wainwright, 720 F.2d 1224, 1225–

26 (11th Cir. 1983)). Neither of these prongs is met here.

             1.    Plaintiff’s Rights to Her Image and Likeness Do Not Fall
                   within the Subject Matter of Copyright.

      With respect to the first prong, the Copyright Act protects “original works of

authorship fixed in any tangible medium of expression.” 17 U.S.C. § 102(a). While

this includes things like books, films, and photographs, it is important to note that

the Copyright Act expressly limits the extent to which its protection extends to the

content of the tangible work. See 17 U.S.C. § 102(b) (“In no case does copyright

protection for an original work of authorship extend to any idea, procedure, process,

system, method of operation, concept, principle, or discovery, regardless of the form

in which it is . . . embodied in such work.”); BUC Int’l Corp. v. Int’l Yacht Council




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Ltd., 489 F.3d 1129, 1140 (11th Cir. 2007) (“[I]t is well-established that [copyright]

protection does not extend to any underlying facts or ideas.”).

      Because of these limitations, the Eleventh Circuit has determined that

preemption “extends only to those elements substantively capable of receiving

federal copyright protection.” Dunlap, 381 F.3d at 1296. Put simply, an item that

can never be copyrighted does not fall “within the subject matter of copyright,”

regardless of the medium in which it appears. See Taylor v. Trapeze Mgmt., LLC,

No. 0:17-cv-62262-KMM, 2018 WL 9708619, at *3 (S.D. Fla. Mar. 26, 2018)

(“Courts have held that a person’s name or likeness is not a work of authorship

within the meaning of section 102 of the Copyright Act and this is true

notwithstanding the fact that Plaintiffs’ names and likenesses are embodied in a

copyrightable photograph.”).

      Courts inside and outside this circuit have extended this logic to a person’s

likeness, which (like an idea or concept) is not a copyrightable expression, regardless

of the medium in which it is embodied, because it is not a work of authorship. See,

e.g., Taylor, 2018 WL 9708619, at *3 (collecting cases from the Fifth, Seventh,

Ninth and Eleventh Circuits and California state courts); Landham v. Lewis Galoob

Toys, Inc., 227 F.33d 619, 623 (6th Cir. 2000) (explaining that claims based on one’s




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“personal identity—an inchoate ‘idea’ which is not amenable to copyright

protection” are not preempted by the Copyright Act).2

      In Taylor, the plaintiffs brought Lanham Act claims and Florida-law claims

for misappropriation of likeness, civil theft, conversion, and unjust enrichment based

on the defendants’ use of their likenesses to advertise the defendants’ business on

social media and websites. Taylor, 2018 WL 9708619, at *2. The defendants argued

the claims were preempted by the Copyright Act, but the court disagreed because

“the content of the protected rights, the [plaintiffs’] images and likenesses, does not

fall within the subject matter of copyright.” Id.

      Here, Plaintiff has alleged that Defendant used Plaintiff’s image and likeness,

without her permission, to promote its business and sell its products. As with the

plaintiffs’ likenesses in Taylor, “it is not the publication of the photograph itself as

a creative work of authorship that is the basis for Plaintiff[’s] claims,” it is “the use

of the Plaintiff[’s] likeness[ ] pictured in the published photograph.” Id. That

Plaintiff’s image and likeness were embodied in the Appropriated Photo does not


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  See also 1 Nimmer on Copyright § 1.01(B)(1)(c) (1999) (“[T]he ‘work’ that is the
subject matter of the right of publicity is the persona, i.e., the name and likeness of
a celebrity or other individual. A persona can hardly be said to constitute a ‘writing’
of an ‘author’ within the meaning of the copyright clause of the Constitution. A
fortiori it is not a ‘work of authorship’ under the Act. Such names or likeness does
not become a work of authorship simply because it is embodied in a copyrightable
work such as a photograph.”).

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bring Plaintiff’s claims under the purview of the Copyright Act, because like an idea

or a concept, a person’s likeness is not a work of authorship capable of being

copyrighted. See Dunlap, 381 F.3d at 1295–96 (“[T]he assertion that an element

which is not protected by copyright is included in the subject matter of copyright is

completely illogical.” (citation omitted)). Thus, the first prong of the preemption

analysis—whether the rights at issue fall within the subject matter of the Copyright

Act—stands against preemption.

             2.     Plaintiff’s Claims Include an “Extra Element” Outside the
                    Exclusive Rights of the Copyright Act.

      The second prong of the preemption analysis asks whether “an extra element

is required instead of or in addition to the acts of reproduction, performance,

distribution or display” to vindicate a state-law right. Lipscher v. LRP Publ’ns, Inc.,

266 F.3d 1305, 1311–12 (11th Cir. 2001). If so, “the right does not lie within the

general scope of copyright and there is no preemption.” Id. The additional element

of the state-law claim must “change the nature of the action so that it is qualitatively

different from a copyright infringement claim.” Foley v. Luster, 249 F.3d 1281, 1285

(11th Cir. 2001) (emphasis in original).

      In this case, all of Plaintiff’s state-law claims hinge on whether Defendant

used her likeness. This element fundamentally exists outside the copyright

infringement context because a person is entitled to exclusive use of their likeness,

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which cannot be copyrighted. See Bullard v. MRA Holding, LLC, 292 Ga. 748, 752

(2013) (“[T]he interest protected in an appropriation case is . . . in the exclusive use

of the plaintiff’s name and likeness as an aspect of his identity.” (quoting Martin

Luther King, Jr. Ctr. for Soc. Change, Inc. v. Am. Heritage Prods., Inc., 250 Ga.

135, 142 (1982)) (cleaned up)); see also 1 Nimmer on Copyright § 1.01(B)(1)(c),

supra n.1. Thus, Plaintiff’s claims are not preempted by the Copyright Act and

should be permitted to proceed.

      D.     The Complaint Adequately States a Claim for False Advertising
             under the Lanham Act

      In her Complaint, Plaintiff alleges that Defendant committed false advertising

in violation of the Lanham Act by using the Appropriated Photo—originally taken

in 2015, six years before Plaintiff had even heard of Defendant’s business—to

falsely or misleadingly suggest to consumers that Plaintiff’s hairstyle in the photo

was achieved by using Defendant’s Haitian Black Castor Oil Scalp Care Shampoo.

To prevail on this claim, Plaintiff must prove that

      (1) the ads of the opposing party were false or misleading, (2) the ads
      deceived, or had the capacity to deceive, consumers, (3) the deception
      had a material effect on purchasing decisions, (4) the misrepresented
      product or service affects interstate commerce, and (5) the movant has
      been—or is likely to be—injured as a result of the false advertising.

Johnson & Johnson Vision Care, Inc. v. 1-800 Contacts, Inc., 299 F.3d 1242, 1247

(11th Cir. 2002).

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      In its Motion, Defendant argues that this claim fails because Plaintiff has not

pled (a) an actionable statement of fact and (b) that Plaintiff suffered damage as a

result of the advertisement. Because Plaintiff has sufficiently pled the required

elements for false advertising, Defendant’s Motion should be denied as to this claim.

             1.     Defendant’s Advertisement Constitutes an “Advertisement”
                    under the Lanham Act.

      Defendant contends that “Plaintiff fails to allege that Defendant made any

specific statement of verifiable fact” because the Appropriated Photo appeared next

to Defendant’s Haitian Black Castor Oil Scalp Care Shampoo “without any

accompanying text or statements at all.” ECF No. 11-1 at 9–10. Defendant’s reading

of the Lanham Act is impermissibly narrow. The Lanham Act itself states that a

qualifying advertisement can include “any word, term, name, symbol, or device, or

any . . . false or misleading description of fact, or false or misleading representation

of fact.” 15 U.S.C. § 1125(a)(1) (emphasis added). To require that an actionable

advertisement contain words directly contradicts the letter of the law.

      Moreover, courts have routinely assessed photos and videos to determine if

they constitute false advertisements. See, e.g., Suntree Techs., Inc. v. Ecosense Int’l,

Inc., 693 F.3d 1338, 1348–50 (11th Cir. 2012) (considering false advertising claim

based on defendant’s use of photos of plaintiff’s product in client brochure); Taylor,

2018 WL 9708619, at *2 (false advertising claim arising from defendant’s use of

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plaintiffs’ photos and likenesses in social media advertisements); Gibson v. White’s

Place, LLC, 3:16 Civ. 392-J-32JBT, 2017 WL 4169690, at *1 (M.D. Fla. Sept. 20,

2017) (same); Lancaster v. Bottle Club, No. 8:17-cv-634-T-33JSS, 2017 WL

3008434, at *9 (M.D. Fla. July 14, 2017) (same); Logan v. Burgers Ozark Country

Cured Hams Inc., 263 F.3d 447, 462 (5th Cir. 2001) (false advertising claim based

on photos in catalogs and on websites). Accordingly, it is not necessary that

Defendant’s advertisements contain words as long as they are false or misleading.

      Defendant also implies that the Appropriated Photo is “vague, subjective,

hyperbolic or aspirational” and therefore “cannot form the basis for a Lanham Act

claim.” ECF No. 11-1 at 9 (quoting XYZ Two Way Radio Serv., Inc. v. Uber Techs.,

Inc., No. 15-CV-3015 (FB) (CLP), 2017 WL 4236503, at *1 (E.D.N.Y. Sept. 28,

2017)). The facts as alleged in Plaintiff’s complaint establish that a consumer could

view Defendant’s use of the Appropriated Photo next to a description of its Black

Castor Oil Scalp Care Shampoo as depicting the results of using the product. See

ECF No. 1 ¶¶ 6, 40, 41, 59, 61, 64. This is a specific, verifiable representation that

can be factually proven or disproven, since Plaintiff either did use Defendant’s

product to achieve her appearance in the photo or did not. See Intertape Polymer

Corp. v. Inspired Techs., Inc., 725 F. Supp. 2d 1319, 1335 (M.D. Fla. 2010) (cited

by Defendant (ECF No. 11-1 at 9) as requiring a false advertising claim to be


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predicated on a “specific, measurable claim that can be reasonably interpreted as an

objective fact”). Furthermore, Plaintiff has alleged that this representation is, in fact,

false or at least misleading. See ECF No. 1 ¶¶ 6, 7, 49, 50, 60. Based on these

allegations, Plaintiff’s Complaint adequately pleads the existence of a false or

misleading device and/or representation of fact under the Lanham Act.

               2.    Plaintiff Has Sufficiently Alleged Actual or the Likelihood of
                     Injury Resulting from Defendant’s Advertisement.

      Next, Defendant argues that Plaintiff has not adequately pled injury as a result

of Defendant’s false advertisements. As a preliminary matter, a claim for false

advertisement under the Lanham Act does not hinge on the existence of an actual

injury. Rather, Plaintiff need only plead and prove that she is likely to be injured by

Defendant’s false advertisement. See Johnson & Johnson, 299 F.3d at 1247

(explaining that a false advertising claim requires proof that the plaintiff “has been—

or is likely to be—injured as a result of the false advertising” (emphasis added)).

Therefore, to the extent Defendant’s Motion is based on the Complaint’s lack of

“facts demonstrating that Plaintiff has been harmed by the Defendant’s alleged use

of the [Appropriated] Photograph,” it should be denied. EC No. 11-1 at 10 (emphasis

added).

          Defendant’s contentions are substantively meritless, as well. Plaintiff has

alleged that, in using the Appropriated Photo in its false advertisements, Defendant

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has (a) “avoided paying [Plaintiff] a reasonable fee for her services,” (b) “deprived

Plaintiff of her right to control the use of her likeness,” (c) “robbed he of the

compensation a model of like stature can expect for such [an advertising] campaign,”

and (d) “has injured and is likely to injure Plaintiff’s brand and reputation.” ECF No.

1 ¶¶ 4, 5, 64. These allegations go above and beyond those required to be proven

under the Lanham Act; Plaintiff has alleged not only that she lost payment as a result

of Defendant’s advertisement, but she has also alleged that her reputation has been

or is likely to be injured. See Diamond Resorts Int’l, Inc. v. Aaronson, 371 F. Supp.

3d 1088, 1102 (M.D. Fla. 2019) (a plaintiff asserting false advertisement under the

Lanham Act “must allege an injury to a commercial interest in reputation or sales”

(quoting Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 131–

32 (2014))); see also Incarcerated Entm’t, LLC v. Warner Bros. Pictures, 261 F.

Supp. 3d 1220, 1233 (M.D. Fla. 2017) (merely pleading “loss of goodwill” and “loss

of sales” sufficient to assert injury under Lexmark, given no cited authority requiring

a plaintiff to “allege in ‘detail’ how its goodwill was damaged or how its sales

declined”). Consequently, Plaintiff has pled an actionable device or representation

of fact and injury, and her false advertisement claim should proceed.

      E.     Plaintiff Adequately States a Claim for False Endorsement under
             the Lanham Act



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      In addition to her false advertising claim, Plaintiff also asserts a claim for false

endorsement under the Lanham Act. In the Eleventh Circuit, false endorsement

claims operate under the same analysis as trademark infringement claims, which

requires a plaintiff to show “a likelihood of consumer confusion, mistake, or

deception as to the origin, sponsorship, or approval of goods being sold.” Webster v.

Guitars, 955 F.3d 1270, 1278 (11th Cir. 2020).

      Defendant contends that this analysis also requires Plaintiff to plead and prove

that she is “known by consumers in the United States” and “recognized personally

on a nationwide scale such that American consumers would be confused as to

Plaintiff’s endorsement of [Defendant’s Haitian Black Castor Oil Scalp Care]

Shampoo.” ECF No. 11-1 at 13–14. Defendant cites to no authority within this

Circuit that directly supports this added element.

      Indeed, the only Eleventh Circuit authority Defendant cites in support is a

footnote in Tana v. Dantanna’s, 611 F.3d 767 (11th Cir. 2010), which Defendant

disingenuously summarizes as stating, “‘The level of recognition that the plaintiff

has among a segment of the society for whom the defendant’s product is intended’

is relevant [to the] ‘likelihood-of-confusion factor’ in false endorsement cases.” Id.

at 13 (quoting Dantanna’s, 611 F.3d at 777 n.9). Defendant’s attempt to shoehorn a

new element into the false endorsement analysis is belied by the wording of its own


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brief: Plaintiff’s recognition is, if anything, merely relevant—but not essential—to

her claim.

      This is the point Dantanna’s is actually making in the referenced footnote: the

likelihood-of-confusion analysis considers (as merely one of seven factors) the

strength of the trademark plaintiff alleges to have been infringed. In this inquiry, the

level of recognition of the mark is relevant to the analysis but not essential or a

substitute for likelihood of confusion. See Dantanna’s, 611 F.3d at 776 (explaining

that the strength of the plaintiff’s mark is one factor in the likelihood-of-confusion

analysis that “requires consideration of the mark’s inherent distinctiveness,” and

upon a finding that the mark is “merely descriptive . . . its strength depends on

whether it has acquired secondary meaning” through recognition). Defendant’s

argument that Plaintiff has failed to plead recognition sufficient to allege a false

endorsement claim is unnecessary and unsupported by the law in this jurisdiction. It

should therefore be disregarded.

      F.     Plaintiff States a Claim for Unjust Enrichment under Georgia
             Law

      The Complaint contains two counts asserting unjust enrichment under

Georgia and Florida law, both of which Defendant seeks to dismiss. Plaintiff

concedes that the Florida unjust enrichment claim should be dismissed for the

reasons stated in Section B, above.

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      With respect to the Georgia claim, Defendant argues that Plaintiff cannot

assert unjust enrichment as a separate tort claim instead of as an alternative to a

breach of contract claim. In doing so, Plaintiff erroneously claims that cannot assert

unjust enrichment as anything other than an alternative theory of recovery to a breach

of contract claim. The Georgia Court of Appeals recently held that, “[a]lthough a

plaintiff may allege a breach of contract claim and an unjust enrichment claim in the

alternative, there is no requirement that he do so” since “unjust enrichment applies

not only when there is a failed contract but also when there is no contract at all.”

Collins v. Athens Orthopedic Clinic, 356 Ga. App. 776, 785 (2020). Thus, the lack

of an actionable contract claim does not bar Plaintiff’s unjust enrichment claim.

      Defendant also claims that Plaintiff’s unjust enrichment claim fails because

Plaintiff has an adequate remedy at law. This argument is contradicted by the

Georgia Court of Appeals’ decision in Whisper Wear, Inc. v. Morgan, in which the

court determined that “damages under a misappropriation of likeness claim” is

equivalent to a “claim for unjust enrichment of the defendant.” 277 Ga. App. 607,

610 (2006).

      Finally, Defendant argues that “Plaintiff does not allege that Defendant

‘induced, accepted, or encouraged her to furnish’ the [Appropriated Photo], as is

required to state a claim for unjust enrichment.” ECF No. 11-1 at 18–19. To the


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contrary, Plaintiff has alleged that Defendant accepted the Appropriated Photo and

used it to its benefit, despite being aware that Plaintiff anticipated payment for

Defendant’s use of her likeness in advertisements. These allegations sufficiently

state a claim for unjust enrichment under Georgia law.

      G.     Plaintiff’s Attorneys’ Fees and Punitive Damages Should Remain

      As stated in Defendant’s brief, claims for attorney’s fees and punitive

damages are derivative of Plaintiff’s substantive claims and cannot exist in their

absence. Because Plaintiff has sufficiently stated substantive claims, as explained

herein, the Court should not dismiss Plaintiff’s claims for attorney’s fees and

punitive damages.

      As to Defendant’s other argument that these counts should not be stated as

separate claims, the Court should not dismiss them because they contain added

factual content necessary to their success. In the alternative, the Court should grant

Plaintiff the opportunity to amend the Complaint to adequately plead entitlement to

this relief within the other claims asserted.

      H.     The Court Should Grant Plaintiff Leave to Amend if It Dismisses
             Her Claims.

      In the event the Court grants, in whole or in part, Defendant’s Motion, Plaintiff

requests leave to amend to cure the pleading deficiencies giving rise to the dismissal.

Federal Rule of Civil Procedure 15 permits the Court to grant leave to amend “when

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justice so requires.” However, the Court may deny leave to amend “when the

amendment would prejudice the defendant, follows undue delays, or is futile.”

Campbell v. Emory Clinic, 166 F.3d 1157, 1162 (11th Cir. 1999). Given that

Defendant has not yet filed an answer to Plaintiff’s Complaint, it will not be

prejudiced by Plaintiff’s amendment. Plaintiff also has not delayed this action.

                                 CONCLUSION

      Plaintiff’s Complaint contains claims under the Lanham Act and Georgia law

that are neither preempted by the Copyright Act nor insufficiently pled under Federal

Rule of Civil Procedure 8. Therefore, the Plaintiff respectfully requests that the

Court deny Defendant’s Motion to Dismiss.

      Respectfully submitted this 6th day of September, 2022.
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             LOCAL RULE 7.1 COMPLIANCE CERTIFICATE

      I hereby certify that the foregoing Response in Opposition to Defendant’s

Motion to Dismiss was prepared using Times New Roman 14-point font, and

otherwise conforms to the requirements of Local Rule 5.1(c) and 7.1.D.

      This 6th day of September, 2022.

                                           /s/Tayah Woodard/
                                           Tayah Woodard
